    Case: 1:18-cv-02306 Document #: 45 Filed: 01/25/19 Page 1 of 3 PageID #:347



                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

 INMAR, INC. and COLLECTIVE BIAS, INC.,

                         Plaintiffs,

            v.                                                Case No: 18-cv-2306

 MONICA MURPHY VARGAS and MLW                                 Judge Charles R. Norgle
 SQUARED, INC., d/b/a AHALOGY,

                         Defendants.


                 DEFENDANTS MONICA MURPHY VARGAS AND
            MLW SQUARED, INC.’S RESPONSE TO PLAINTIFFS’ MOTION
                       TO SET A DATE FOR STATUS

       Defendants Monica Murphy Vargas (“Ms. Vargas”) and MLW Squared, Inc., d/b/a

Ahalogy (“Ahalogy”) (collectively “Defendants”) file this response to Plaintiffs’ motion to set a

date for status (“Motion”). In support thereof, Defendants state as follows:

       1.        First and foremost, Defendants would like to set the record straight regarding

certain mischaracterizations in the Motion. Defendants agreed with Plaintiffs’ counsel that a

motion to ask the Court for a status conference was a prudent idea in light of the pre-trial order.

But Defendants dispute Plaintiffs’ characterizations of the Rule 26 conference held between the

parties and vigorously oppose any attempt by Plaintiffs to expand this litigation beyond necessary,

particularly when it is a full eighteen months after Ms. Vargas left Plaintiffs’ employ.

       2.        On December 21, 2018, this Court entered a ruling granting in part and denying in

part Defendants’ motion to dismiss the Complaint. Dkt. 40. This Court also entered an order

setting a final pretrial order date on March 1, 2019, and stating that a trial date of spring of 2019

might be set upon review of the submitted final pretrial order. Dkt. 39. Defendants believe that

this Court set this schedule intentionally, and with a recognition that the issues in this case are
    Case: 1:18-cv-02306 Document #: 45 Filed: 01/25/19 Page 2 of 3 PageID #:348



narrow, and limited almost entirely to damages (if any) stemming from a very small number (3)

of marketing-related emails that Monica forwarded from her Collective Bias email to her personal

email before she resigned from Collective Bias.

       3.      After the holidays, the parties set a Rule 26 conference for January 23, 2019, at

3:00 pm Central Time. On the call were attorneys for Plaintiffs, Justin Kay, Matthew Morrissey

and Andrew Porter; attorneys Kristen Hudson and Ryan Haas for Defendant Ms. Vargas; and

attorneys Carrie Hall and Daniel Saeedi for Defendant Ahalogy. During the call, Mr. Kay asked

if Defendants would agree to a schedule a nine (9) month period for fact discovery with an

additional two (2) months for expert discovery. Both Ms. Hall and Ms. Hudson informed Mr. Kay

that this Court had already entered an order setting a pretrial date, and that Defendants believed

that this Court did so intentionally in light of the narrow issues of this case. Mr. Kay disagreed,

and claimed that this Court mistakenly entered this schedule. The parties agreed that the best

course of action was to seek a status date with this Court to ascertain its intention.

       4.      During the call, Ms. Hall asked Mr. Kay if he had anything else that he wanted to

discuss. Mr. Kay informed Defendants’ counsel that discussing anything else at this time would

be “unproductive.” Mr. Kay also informed Defendants’ counsel that he would circulate a draft

motion for a status date to see if the parties could submit as agreed. Ms. Hudson and Ms. Hall

agreed to this reasonable procedure.

       5.      Rather than circulating a draft motion, as Mr. Kay had promised, instead Mr. Kay

signed and filed the instant Motion, and alleged in the Motion that Defendants “refused to

cooperate substantively in discussions regarding the parameters of discovery or proposed

deadlines.” This is not true. Defendants were prepared to address the other topics contemplated

by the Court's standing order and Rules 16 and 26, which have nothing to do with the timeframe

for discovery. However, Plaintiffs were not. Mr. Kay never informed this Court that he had

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      Case: 1:18-cv-02306 Document #: 45 Filed: 01/25/19 Page 3 of 3 PageID #:349



terminated the call as “unproductive,” nor that he previously promised to circulate his motion to

Defendants to see if an agreement could be reached, in accordance with his Rule 26 good faith

obligation. For these reasons, Mr. Kay’s inaccurate Motion requires the filing of this response to

correct the record.

         6.     Plaintiffs’ motion to vacate this Court’s pre-trial order deadline should be denied.

Rather, Defendants ask that this Court set a status date to discuss this Court’s intentions regarding

a reasonable schedule that takes into account the narrow and limited issues of this case, the

resources of Defendant Ms. Vargas and the fact that the purpose and effect of this case, as evident

from the manner in which Plaintiffs’ counsel have handled settlement negotiations, is to stifle Ms.

Vargas from pursuing her occupation freely and raising a living, which the public policy of Illinois

overwhelmingly rejects.

         WHEREFORE, Defendants respectfully ask that this Court set an initial status date to

discuss scheduling, deny the remainder of Plaintiffs’ motion and grant any other relief that it deems

appropriate.

  Dated: January 25, 2019                              Respectfully submitted,


  MONICA MURPHY VARGAS                                 MLW SQUARED, INC., d/b/a AHALOGY


  /s/ Kristen E. Hudson (with permission)              /s/ Daniel R. Saeedi
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